                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE

                                             )
DAVID DELL’AQUILA, LORANNDA                  )
BORJA, TODD CHESNEY, and BRENT               ) Case No. 3:19-cv-679
WEBER, on behalf of themselves and all       )
others similarly situated,                   ) Judge William L. Campbell
                                             )
Plaintiffs                                   ) Mag. Judge Chip Frensley
                                             )
v.                                           )
                                             )
NATIONAL RIFLE ASSOCIATION OF                )
AMERICA
                                             )
Defendant.


       PLAINTIFF’S MOTION FOR LEAVE TO FILE AN EXHIBIT UNDER SEAL

        NOW COMES Plaintiffs, by their attorneys LOEVY & LOEVY, and respectfully move

for Leave to File a Certain Exhibit Under Seal. In support, Plaintiff states as follows:

        1.     Plaintiffs have filed a Motion for Leave To File Third Amended Complaint.

Dkt. 131. Attached to the motion as an exhibit is Plaintiffs proposed Third Amended Complaint.

The version of the proposed complaint that is filed on the public docket includes redactions in

three paragraphs. See ¶¶ 30-32.

        2.     These paragraphs have been redacted because they quote documents that

Defendant National Rifle Association (“NRA”) disclosed during discovery and designated as

CONFIDENTIAL under the protective order the Parties have negotiated. Therefore, Plaintiff

seeks leave to file a non-redacted version of the proposed Third Amended Complaint under seal.

        3.     Consistent with the protective order (Dkt. 125), good cause exists to allow

Plaintiff to file these documents under seal rather than publicly.




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        4.      Pursuant to the protective order, Plaintiff reserves the right to challenge NRA’s

designation of these documents as confidential, but the Parties have not engaged in a meet and

confer regarding that issue at the time of this filing.

        WHEREFORE, Plaintiffs respectfully request leave to file an unredacted exhibit to the

Motion for Leave To File Third Amended Complaint under seal.

DATED: June 30, 2023                                      Respectfully submitted,

                                                          s/ Julia Rickert
                                                          One of Plaintiffs’ Attorneys

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                                                          Jonathan I. Loevy (pro hac vice)
                                                          Julia Rickert (pro hac vice)
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                                                          Counsel for Plaintiffs




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                                CERTIFICATE OF SERVICE

        I hereby certify that on June 30, 2023, a true and exact copy of Plaintiffs’ Motion to Seal
was electronically filed with the Clerk's Office using the the CM/ECF filing system and served via
the Court's CM/ECF system and/or via email and/or U.S. Mail upon the parties listed below.
Parties may also access this filing through the Court's CM/ECF system.

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                                                     Respectfully submitted,
                                                     s/ Julia Rickert
                                                     One of Plaintiffs’ Attorneys

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